Case 1:19-bk-10778-NWW          Doc 19 Filed 02/26/19 Entered 02/26/19 16:20:55               Desc
                                Main Document    Page 1 of 2


                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF TENNESSEE
                               CHATTANOOGA DIVISION

 In Re:                                           Case No. 1:19-bk-10778-NWW

 Jason Lloyd Holland
                                                  Chapter 13
 Christina Michelle Holland

 Debtors.                                         Judge Nicholas W. Whittenburg

  REQUEST FOR SERVICE OF NOTICES PURSUANT TO FED.R.BANKR.P. 2002(g)

        Please take notice that D. Anthony Sottile, as authorized agent for Home Point Financial
Corporation, a creditor in the above-captioned case, requests, pursuant to Rules 2002 and 9007
of the Federal Rules of Bankruptcy Procedure and §§102(1), 342 and 1109(b) of title 11 of the
United States Code, and 11 U.S.C. §§ 101, et seq., that all notices given or required to be given
and all papers served or required to be served in this case also be given to and served, whether
electronically or others on:
          D. Anthony Sottile
          Authorized Agent for Home Point Financial Corporation
          394 Wards Corner Road, Suite 180
          Loveland, OH 45140
          Phone: 513.444.4100
          Email: bankruptcy@sottileandbarile.com


 Dated: February 26, 2019                         /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
Case 1:19-bk-10778-NWW          Doc 19 Filed 02/26/19 Entered 02/26/19 16:20:55                  Desc
                                Main Document    Page 2 of 2


                                 CERTIFICATE OF SERVICE

I certify that on February 26, 2019, a copy of the foregoing Request for Service of Notices was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/Parties may access this filing through the Court’s system:

       April Perry Randle, Debtors’ Counsel
       april@aprilrandlelaw.com

       Kara L. West, Chapter 13 Trustee
       chattecf@ch13-trustee.com

       Office of the United States Trustee
       ustpregion08.cn.ecf@usdoj.gov

I further certify that on February 26, 2019, a copy of the foregoing Request for Service of
Notices was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

       Jason Lloyd Holland, Debtor
       1610 Brentwood Dr.
       Athens, TN 37303

       Christina Michelle Holland, Debtor
       1610 Brentwood Dr.
       Athens, TN 37303

                                                    /s/ D. Anthony Sottile
                                                    D. Anthony Sottile
                                                    Authorized Agent for Creditor
                                                    Sottile & Barile, LLC
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    Email: bankruptcy@sottileandbarile.com
